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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


ABS GLOBAL, INC.,

             Plaintiff/Counterclaim Defendant,                       ORDER
      v.
                                                                 14-cv-503-wmc
INGURAN, LLC d/b/a Sexing Technologies,

             Defendant/Counterclaimant,

      and

XY, LLC,
             Intervening Defendant/Counterclaimant,

      v.

GENUS PLC,

             Counterclaim Defendant.


      The court is in receipt of Inguran’s Rule 62(c) motion, which seeks to correct what

it hopefully observes must have been “an inadvertent omission” in the court’s final

judgment. (Dkt. #797.) As ABS points out in response, there is a fundamental problem

with Inguran seeking relief under Rule 62(c), which after all places the burden on the

movant to demonstrate entitlement to relief under a four-part test that is “similar to the

factors a court considers when determining whether to grant . . . [an] injunction,” except

that “the movant must make a stronger threshold showing of likelihood of success to meet

its burden” since the court has already found its arguments lacking. Peterson v. Vill. of

Downer’s Grove, No. 14 C 09851, 2016 U.S. Dist. LEXIS 13867, at *8-9 (N.D. Ill. Feb. 4,

2016) (internal quotation marks omitted) (quoting In re Forty-Eight Insulations, Inc., 115
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F.3d 1294, 1301 (7th Cir. 1997)); see also In re A&F Enters., Inc. II, 742 F.3d 763, 766 (7th

Cir. 2014) (considering a request for a stay pending appeal under standard four-part test

for issuance of preliminary injunction).

       Instead, Inguran premises its motion on the mistaken notion that the court’s

omission of the word “existing” from its permanent injunction “must have been

inadvertent.” On the contrary, the court adopted the specific language in light of the jury’s

verdict, recognizing that until there is once again a viable, competitive marketplace, ST

could continue to exert its monopoly power by tying up bull studs in new, long-term

contracts. Having said that, the court also imposed a five-year sunset provision on this

ongoing injunction, and Inguran is welcome to seek even earlier relief if it can establish a

basis to do so consistent with Rule 62(c), understanding that such a showing would appear

to be a difficult one until a viable competitor has successfully launched a competing service

in the relevant market. Accordingly, Inguran’s motion under Rule 62(c) is DENIED.

       Entered this 5th day of May, 2017.

                                           BY THE COURT:

                                           /s/
                                           __________________________________
                                           WILLIAM M. CONLEY
                                           District Judge




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